           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 1 of 55




                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

 AFTER II MOVIE, LLC; BODYGUARD             §   Case No.: 1:21-cv-709-RP
 PRODUCTIONS, INC.; HITMAN 2                §   (Copyright)
 PRODUCTIONS, INC.; LHF                     §
 PRODUCTIONS, INC., MILLENNIUM              §   SECOND AMENDED COMPLAINT;
 FUNDING, INC., MILLENNIUM IP,              §   EXHIBITS “A”-“D”; DECLARATION
 INC.; MON, LLC; NIKOLA                     §   OF JOSHUA LEE
 PRODUCTIONS, INC.; OUTPOST                 §
 PRODUCTIONS, INC.; RAMBO V                 §   (1) CONTRIBUTORY
 PRODUCTIONS, INC.; VENICE PI, LLC;         §       COPYRIGHT
 VOLTAGE HOLDINGS, LLC; WONDER              §       INFRINGEMENT
 ONE, LLC; DALLAS BUYERS CLUB,              §   (2) DMCA VIOLATIONS
 LLC; HANNIBAL MEDIA, INC.,                 §   (3) JURY TRIAL DEMANDED
 BADHOUSE STUDIOS, LLC; THE                 §
 GUARD PRODUCTIONS, LTD; JOLT               §
 PRODUCTIONS, INC.; TIL                     §
 PRODUCTIONS, INC.; and SCREEN              §
 MEDIA VENTURES, LLC,                       §
                                            §
                  Plaintiffs,               §
    vs.                                     §
                                            §
 GRANDE COMMUNICATIONS                      §
 NETWORKS, LLC                              §
                                            §
                  Defendant.                §
                                            §
                                            §
                                            §
                                            §

                                SECOND AMENDED COMPLAINT

          Plaintiffs AFTER II MOVIE, LLC, BODYGUARD PRODUCTIONS, INC., HITMAN 2

PRODUCTIONS, INC., LHF PRODUCTIONS, INC., MILLENNIUM FUNDING, INC.,

MILLENNIUM IP, INC., MON, LLC, NIKOLA PRODUCTIONS, INC., OUTPOST

PRODUCTIONS, INC., RAMBO V PRODUCTIONS, INC., VENICE PI, LLC, VOLTAGE

HOLDINGS, LLC, WONDER ONE, LLC, DALLAS BUYERS CLUB, LLC; HANNIBAL


20-017G
               Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 2 of 55




MEDIA, INC.; BADHOUSE STUDIOS, LLC; THE GUARD PRODUCTIONS, LTD; JOLT

PRODUCTIONS, INC.; TIL PRODUCTIONS, INC.; and SCREEN MEDIA VENTURES, LLC

(“Plaintiffs”)     file   this   Second    Amended       Complaint   against   Defendant     GRANDE

COMMUNICATIONS NETWORKS, LLC (“Defendant”) and allege as follows:

                                  I.      NATURE OF THE ACTION

          1.       This matter arises under the United States Copyright Act of 1976, as amended, 17

U.S.C. §§ 101, et seq. (the “Copyright Act”).

          2.       The Plaintiffs allege that Defendant is liable for injunctive relief pursuant to 17

U.S.C. § 512(j) and secondarily liable for copyright infringement in violation of 17 U.S.C. §§ 106

and 501 and violations of the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C. § 1202.

                                 II.      JURISDICTION AND VENUE

          3.       This Court has subject matter jurisdiction over this action pursuant to 17 U.S.C. §§

101, et. seq., (the Copyright Act), 28 U.S.C. § 1331 (federal question), and 28 U.S.C. § 1338

(patents, copyrights, trademarks, and unfair competition).

          4.       Defendant either resides in, solicits, transacts, or is doing business within this

jurisdiction, and has committed unlawful and tortious acts both within and outside this jurisdiction

with the full knowledge that its acts would cause injury in this jurisdiction. As such, Defendant

has sufficient contacts with this judicial district to permit the Court’s exercise of personal

jurisdiction over it.

          5.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c) because: (a)

all or a substantial part of the events or omissions giving rise to the claims occurred in this District;

and, (b) the Defendant resides, and therefore can be found, in this State. Additionally, venue is

proper in this District pursuant to 28 U.S.C. § 1400(a) (venue for copyright cases), because the


                                                     2
20-023M
               Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 3 of 55




Defendant or Defendant’s agents reside or may be found in this District.

                                           III.    PARTIES


                                           A. The Plaintiffs

          6.       The Plaintiffs are owners of the copyrights for the motion pictures (“Works”),

respectively, as shown in Exhibit “A”.

          7.       Plaintiffs are producers of popular motion pictures currently available for sale

online and in brick and mortar retail stores. Many of these critically acclaimed motion pictures

were released in theaters throughout the world and feature A-list actors such as Samuel Jackson,

Ryan Reynolds, Sylvester Stallone, Nicholas Cage, Angela Basset, Gerard Butler, Gary Oldman,

Common, Linda Cardellini, Milla Jovovich, Pierce Brosnan, Dylan McDermott, Woody

Harrelson, James Marsden and Rob Reiner, among others.

          8.       Plaintiffs invested significant financial resources, time and effort in making and

marketing these motion pictures based upon the expectation that they would have an opportunity

to get a return on their investment from rentals and sales. Massive piracy of these motion pictures

on the Internet via peer-to-peer networks by subscribers of Internet Service Providers (“ISPs”)

such as Defendant and the willful failure of the ISPs to deal with this issue despite clear notice of

it have hindered this opportunity.

          9.       AFTER II MOVIE, LLC is a Nevada limited liability company with its principal

place of business at Las Vegas, NV.

          10.      BODYGUARD PRODUCTIONS, INC. is a corporation organized under the laws

of the State of Nevada, has a principal office in Nevada and is an affiliate of Millennium Media.

          11.      HITMAN 2 PRODUCTIONS, INC. is a corporation organized under the laws of

the State of Nevada, has a principal office in Nevada and is an affiliate of Millennium Media.

                                                    3
20-023M
            Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 4 of 55




          12.   LHF PRODUCTIONS, INC. is a corporation organized under the laws of the State

of Nevada, has a principal office in Nevada and is an affiliate of Millennium Media.

          13.   MILLENNIUM FUNDING, INC. is a corporation organized under the laws of the

State of Nevada, has a principal office in Nevada and is an affiliate of Millennium Media.

          14.   MILLENNIUM IP, INC. is a corporation organized under the laws of the State of

Nevada, has a principal office in Nevada and is an affiliate of Millennium Media.

          15.   MON, LLC is a California limited liability company with its principal place of

business at Beverly Hills, CA.

          16.   NIKOLA PRODUCTIONS, INC. is a corporation organized under the laws of the

State of Nevada, has a principal office in Nevada and is an affiliate of Millennium Media.

          17.   OUTPOST PRODUCTIONS, INC. is a corporation organized under the laws of

the State of Nevada, has a principal office in Nevada and is an affiliate of Millennium Media.

          18.   RAMBO V PRODUCTIONS, INC. is a corporation organized under the laws of

the State of Nevada, has a principal office in Nevada and is an affiliate of Millennium Media.

          19.   VENICE PI, LLC is a California limited liability company with its principal place

of business at Los Angeles, CA.

          20.   VOLTAGE HOLDINGS, LLC is a limited liability company registered under the

laws of the State of Nevada, has principal offices in Los Angeles, California and is an affiliate of

Voltage Pictures.

          21.   WONDER ONE, LLC is a Wyoming limited liability company with its principal

place of business at Sherman Oaks, CA.

          22.   DALLAS BUYERS CLUB, LLC is a Texas limited liability company with its

principal place of business at The Woodlands, TX.


                                                    4
20-023M
            Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 5 of 55




          23.   HANNIBAL MEDIA, INC. is a California corporation with its principal place of

business at 2045 Biscayne Blvd., #425 Miami, Florida.

          24.   BADHOUSE STUDIOS, LLC is a Wyoming limited liability company with its

principal place of business at West Hollywood, CA.

          25.   THE GUARD PRODUCTIONS, LTD is a United Kingdom limited company with

its principal place of business in London, England and is an affiliate of Millennium Media.

          26.   JOLT PRODUCTIONS, INC. is a corporation organized under the laws of the

State of Nevada, has a principal office in Nevada and is an affiliate of Millennium Media.

          27.   TIL PRODUCTIONS, INC. is a corporation organized under the laws of the State

of Nevada, has a principal office in Nevada and is an affiliate of Millennium Media.

          28.   SCREEN MEDIA VENTURES, LLC is a Delaware limited liability company with

its principal place of business at New York, NY.



                                         B. The Defendant

          29.   Defendant is a limited liability company organized and existing under the laws of

the State of Delaware, with its headquarters at 401 Carlson Circle, San Marcos, TX 78666.

          30.   Defendant is a member of The American Registry of Internet Numbers (“ARIN”),

which is a nonprofit, member-based organization that manages and distributes Internet number resources

such as Internet Protocol (“IP”) addresses and Autonomous System Numbers.

          31.   Defendant has an ARIN “Org” kind handle of C06137591 with full name “Grande

Communications” and an address of 401 Carlson Circle, San Marcos, TX 78666.

          32.   Defendant is a Texas ISP that provides transmitting, routing, or connection for

material through a system or network controlled or operated by or for Defendant (“Internet


                                                  5
20-023M
            Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 6 of 55




service”) to subscribers in Austin, Dallas, San Antonio, and other locations throughout the state

of Texas.

          33.   Many of Defendant’s subscribers are motivated to subscribe to Grande’s service

because it allows them to download movies and other copyrighted content—including

unauthorized content—as efficiently as possible.

          34.   Accordingly, Defendant promotes its service to download and upload large

amounts of content for subscribers for “downloading music, streaming movies and gaming”. See

Decl. of Joshua Lee at ¶¶6-7.

          35.   In exchange for this service, Defendant charges its subscribers monthly fees

ranging in price based on the speed of service.

          36.   At all relevant times, Defendant knew that its subscribers routinely used its

network for illegally downloading and uploading copyrighted works, particularly Plaintiffs’

Works. As described below, Plaintiffs’ agent sent over 5,500 notices styled per 17 U.S.C.

§512(c)(3) to Defendant’s designated abuse contact informing Defendant that many of its

subscribers were actively utilizing their service to infringe Plaintiffs’ Works. Those notices gave

Defendant the specific identities of its infringing subscribers, referred to by their Internet Protocol

(“IP”) addresses, port numbers and time of infringement (to the second) and included the file title

of the infringing copy being pirated with altered copyright management information.

Nonetheless, Defendant persistently turned a blind eye to the massive infringement of Plaintiffs’

Works occurring over its network. Defendant allowed the illegal activity because it was popular

with subscribers and acted as a draw to attract and retain new and existing subscribers.

Defendant’s subscribers, in turn, purchased more bandwidth and continued using Defendant’s

services to infringe Plaintiffs’ Works.


                                                   6
20-023M
            Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 7 of 55




          37.   Defendant knew that if it terminated or otherwise prevented repeat infringer

subscribers from using its service to infringe, or made it less attractive for such use, Defendant

would enroll fewer new subscribers, lose existing subscribers, and ultimately lose revenue. For

those account holders and subscribers who wanted to download files illegally at faster speeds,

Defendant obliged them in exchange for higher rates. In other words, the greater the bandwidth

its subscribers required for pirating content, the more money Defendant made.

                                        IV.     JOINDER

          38.   Pursuant to Fed. R. Civ. P. 20(a)(1), each of the Plaintiffs was properly joined

because, as set forth in more detail below, the Plaintiffs assert that the infringements complained

of herein by Defendant were part of a series of transactions and occurrences involving

Defendant’s subscribers, namely Defendant’s subscribers widespread use of piracy applications

to pirate Plaintiffs’ Work and Defendant’s failure to take any measures to stop its subscribers’

infringing activities.

                              V.       FACTUAL BACKGROUND


A. The Plaintiffs Own the Copyright to the Work


          39.   As shown in Exhibit “A”, the Plaintiffs are the registered owners of the copyrights

for the Works either through work for hire agreement, assignments and/or mergers. The Works

are the subjects of copyright registrations, and this action is brought pursuant to 17 U.S.C. § 411.

          40.   Each of the Works contains original material that is copyrightable subject matter

under the laws of the United States.

          41.   The Works are currently offered for sale in commerce.

          42.   Defendant had notice of Plaintiffs’ rights through notices that were sent to

Defendant’s abuse contact.
                                                 7
20-023M
            Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 8 of 55




          43.   Defendant also had notice of Plaintiffs rights through a letter from Plaintiffs’

counsel. See Exhibit “C”.


B. Defendant’s subscribers Infringe Plaintiffs’ Copyrights.


          44.   Defendant’s subscribers use software such as BitTorrent to infringe Plaintiffs’

exclusive rights of reproduction and distribution.

          45.   BitTorrent is one of the most common peer-to-peer file sharing protocols (in other

words, set of computer rules) used for distributing large amounts of data.

          46.   The BitTorrent protocol’s popularity stems from its ability to distribute a large file

without creating a heavy load on the source computer and network. In short, to reduce the load on

the source computer, rather than downloading a file from a single source computer (one computer

directly connected to another), the BitTorrent protocol allows users to join a "swarm" of host

computers to download and upload from each other simultaneously (one computer connected to

numerous computers).

          47.   In a report from January 2011, a survey conducted by the firm Envisional estimated

that 11.4 percent of all Internet traffic involved the unauthorized distribution of non-pornographic

copyrighted content via BitTorrent. See Envisional, “Technical report: An Estimate of Infringing

Use              of              the              Internet”,              January               2011,

https://www.ics.uci.edu/~sjordan/courses/ics11/case_studies/Envisional-Internet_Usage-

Jan2011-4.pdf [last accessed July 21, 2021].

          48.   A more recent study by Sandvine determined that file-sharing accounts for 3

percent of global downstream and 22 percent of upstream traffic, with 97% of that traffic in turn

being BitTorrent. See Sandvine, “The Global Internet Phenomena Report”, October 2018,


                                                  8
20-023M
            Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 9 of 55




https://www.sandvine.com/hubfs/downloads/phenomena/2018-phenomena-report.pdf                      [last

accessed on May 27, 2021].

          49.   BitTorrent is overwhelmingly used for piracy. See David Price, “NetNames Piracy

Analysis: Sizing the Piracy Universe”, September 2013, pg. 18, http://creativefuture.org/wp-

content/uploads/2016/01/netnames-sizing_piracy_universe-FULLreport-sept2013.pdf                   [last

accessed on Oct. 1, 2021] (“Of all unique visitors to bittorrent portals in January 2013, it is

estimated that 96.28% sought infringing content during the month…”)

          1) The Initial Seed, Torrent, Hash and Tracker

          50.   A BitTorrent user that wants to upload the new file, known as an “initial seeder,”

starts by creating a “torrent” descriptor file using, for example, the Client he or she installed onto

his or her computer.

          51.   The initial user or seeder of a file used a process referred to as “ripping” to create

a copy of motion pictures from either Blu-ray or legal streaming services.

          52.   The initial seeder often modifies the file title of the Work to include a wording

such as “FGT”, “RARBG” or “YTS” in the title of the torrent files and file copies in order to

enhance a reputation for the quality of his or her torrent files and attract users to his or her piracy

website.

          53.   The Client takes the target computer file, the “initial seed,” here the copyrighted

Work, and divides it into identically sized groups of bits known as “pieces.”

          54.   The Client then gives each one of the computer file’s pieces, in this case, pieces of

the copyrighted Works, a random and unique alphanumeric identifier known as a “hash” and

records these hash identifiers in the torrent file.




                                                      9
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 10 of 55




          55.    When another peer later receives a particular piece, the hash identifier for that

piece is compared to the hash identifier recorded in the torrent file for that piece to test that the

piece is error-free. In this way, the hash identifier works like an electronic fingerprint to identify

the source and origin of the piece and that the piece is authentic and uncorrupted.

          56.    Torrent files also have an "announce" section, which specifies the URL (Uniform

Resource Locator) of a “tracker,” and an "info" section, containing (suggested) names for the

files, their lengths, the piece length used, and the hash identifier for each piece, all of which are

used by Clients on peer computers to verify the integrity of the data they receive.

          57.    The “tracker” is a computer or set of computers that a torrent file specifies and to

which the torrent file provides peers with the URL address(es).

          58.    The tracker computer or computers direct a peer user’s computer to other peer

user’s computers that have particular pieces of the file, here the copyrighted Work, on them and

facilitates the exchange of data among the computers.

          59.    Depending on the BitTorrent Client, a tracker can either be a dedicated computer

(centralized tracking) or each peer can act as a tracker (decentralized tracking).

          2) Torrent Sites

          60.    “Torrent sites” are websites that index torrent files that are currently being made

available for copying and distribution by people using the BitTorrent protocol. There are

numerous torrent websites including the notorious YTS, The Pirate Bay and RARBG websites.

These websites were noted by the Office of the United States Trade Representative (“USTR”) as

examples of Notorious Markets defined as an online marketplace reportedly engaged in and

facilitating substantial piracy. See USTR, 2014 Out-of-Cycle Review of Notorious Markets, Mar.

5,   2015,      pg.   17,    Available   at   https://ustr.gov/sites/default/files/2014%20Notorious


                                                  10
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 11 of 55




%20Markets%20List%20-%20Published_0.pdf [last accessed on May 7, 2021]; see also USTR,

2018 Out-of-Cycle Review of Notorious Markets, April 2019, pgs. 24, 27-28, Available at

https://ustr.gov/sites/default/files/2018_Notorious_Markets_List.pdf [accessed on May 7, 2021].

          3) Defendant’s subscribers access torrent sites from IP addresses provided by

          Defendant

          61.   Defendant’s subscribers accessed torrent sites including the YTS website to upload

and download Plaintiffs’ copyrighted Work from IP addresses provided by Defendant.

          62.   For example, an individual Grande subscriber registered for an account with the

torrent website YTS using email address dizzle****@hotmail.com and used said account to

access the torrent website YTS from IP address 66.196.3.46 assigned by Defendant and download

a torrent file for pirating the Work Angel Has Fallen on Nov. 26, 2019. See Exhibit “B” at pg. 2.

          4) Uploading and Downloading a Work Through a BitTorrent Swarm

          63.   Once the initial seeder has created a torrent and uploaded it onto one or more

torrent sites, then other peers begin to download and upload the computer file to which the torrent

is linked (here the copyrighted Works) using the BitTorrent protocol and BitTorrent Client that

the peers installed on their computers.

          64.   The BitTorrent protocol causes the initial seeder’s computer to send different

pieces of the computer file, here the copyrighted Work, to the peers seeking to download the

computer file. Defendants transmit the pieces to the peers.

          65.   Once a peer receives a piece of the computer file, here a piece of the copyrighted

Work, it starts transmitting that piece to the other peers. Defendants transmit the pieces to the

peers.




                                                11
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 12 of 55




          66.   In this way, all of the peers and seeders are working together in what is called a

“swarm.”

          67.   Here, the Defendant’s subscribers participated in a swarm and directly interacted

and communicated with other members of the swarm through digital handshakes, the passing

along of computer instructions, uploading and downloading, and by other types of transmissions,

Plaintiffs’ Works.

          68.   Defendant distributed the subscribers’ transmissions to other members of the

swarm.

          69.   In this way, and by way of example only, one initial seeder can create a torrent that

breaks a movie up into hundreds or thousands of pieces saved in the form of a computer file, like

the Works here, upload the torrent onto a torrent site, and deliver a different piece of the

copyrighted Work to each of the peers. The recipient peers then automatically begin delivering

the piece they just received to the other peers in the same swarm.

          70.   Once a peer has downloaded the full file, the BitTorrent Client reassembles the

pieces and the peer is able to view the movie. Also, once a peer has downloaded the full file, that

peer becomes known as “an additional seed,” because it continues to distribute the torrent file,

here the copyrighted Work.

          71.   For example, the individual who used email address dizzle****@hotmail.com

shared copies of the Work Angel Has Fallen under the file name “Angel Has Fallen (2019)

[BluRay] [720p] [YTS.LT]” multiple times on Nov. 26, 2021 from IP address 66.196.3.46.


          5) The Plaintiffs’ Computer Investigator Identified Defendant’s IP Addresses as

          Participants in Swarms That Were Distributing Plaintiffs’ Copyrighted Works.



                                                 12
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 13 of 55




          72.   The Plaintiffs engaged Maverickeye UG (“MEU”) to identify the IP addresses that

are being used by those people that are using the BitTorrent protocol and the Internet to reproduce,

distribute, display or perform the Plaintiff’s copyrighted Work.

          73.   MEU used forensic software to enable the scanning of peer-to-peer networks for

the presence of infringing transactions.

          74.   MEU extracted the resulting data emanating from the investigation, reviewed the

evidence logs, and isolated the transactions and the IP addresses associated therewith for the files

identified by the SHA-1 hash value of the Unique Hash Number.

          75.   MEU logged information including the IP addresses, Unique Hash Numbers, and

hit dates that show that Defendant’s subscribers distributed pieces of the Plaintiffs’ copyrighted

Works identified by the Unique Hash Number.

          76.   Defendant’s subscribers’ computers used the identified IP addresses to connect to

the investigative server in order to transmit a full copy, or a portion thereof, of a digital media file

identified by the Unique Hash Number.

          77.   MEU analyzed each BitTorrent “piece” distributed by the IP addresses and verified

that re-assemblage of the pieces using a BitTorrent Client results in a fully playable digital motion

picture of the Works.

          78.   MEU viewed the Works side-by-side with the digital media file that correlates to

the Unique Hash Number and determined that they were identical, strikingly similar or

substantially similar.

          79.   For example, MEU logged records showing that the Work Angel Has Fallen was

shared under the file name “Angel Has Fallen (2019) [BluRay] [720p] [YTS.LT]” multiple times

on Nov. 26, 2021 from IP address 66.196.3.46.


                                                   13
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 14 of 55




C. The Operator of the YTS website confirmed that at least one of Defendant’s subscribers’

accounts was used to download torrent files for copying copyright protected Works from the

YTS website.


          80.   The YTS website operator maintained records of activity of registered user

accounts. See Exhibit “B” at pg. 3 (Certificate of Authenticity).

          81.   As shown in Exhibit “B”, the records include the email address of the registered

user account, the torrent files the registered account downloaded, the IP address from where the

registered user accessed the YTS website, and the time.


D. Defendant’s subscribers distributed copies of Plaintiffs’ Works.


          82.   Defendant’s subscribers distributed at least pieces of each of Plaintiffs’ Works

over network connections provided by Defendants to other peers in the Swarm.

          83.   Defendant’s subscriber at IP address 66.196.3.46 distributed multiple copies of the

Works Hellboy and Angel Has Fallen.

          84.   Defendant’s subscriber at IP address 24.155.189.11 distributed thousands of

copies of the Work Rambo V: Last Blood.


E. Defendant’s subscribers knew the Copyright Management Information included in the files

they distributed to other peers had been removed or altered without the authority of Plaintiffs.


          85.   A legitimate file copy of each of the Works includes copyright management

information (“CMI”) indicating the title.

          86.   The initial seeders of the infringing file copies of Plaintiffs’ Works added wording

to the file titles to “brand” the quality of piracy files he or she released and attract further traffic

to his or her website.
                                                   14
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 15 of 55




          87.   For example, the initial seeder of the infringing file copies of the Works Dallas

Buyers Club and London Has Fallen added the wording “RARBG” to the file titles to brand the

quality of piracy files he or she released and attract further traffic to the RARBG website.

          88.   The word RARBG is not included in the file title of legitimate copies or streams

of the Works. The initial seeder of the Work altered the title to falsely include the words

“RARBG” in the CMI.

          89.   The initial seeder of the infringing file copies of the Work Angel Has Fallen added

the wording “YTS” to the file titles to brand the quality of piracy files he or she released and

attract further traffic to the YTS website.

          90.   The word YTS is not included in the file title of legitimate copies or streams of the

Works. The initial seeder of the Work altered the title to falsely include the words “YTS” in the

CMI.

          91.   The file copies Defendant’s subscribers distributed to other peers in the Swarm

included the altered CMI in the file title.

          92.   Defendant’s subscribers knew that the website or BitTorrent Client from which

they obtained their torrent files was distributing illegal copies of the Work.

          93.   In many cases, Defendant’s subscribers had registered accounts with these piracy

websites.

          94.   Defendant’s subscribers knew that the entity included in the false or altered CMI

such as YTS or RARBG was not the author of Plaintiffs’ Works.

          95.   Defendant’s subscribers knew that the entity included in the false or altered CMI

such as YTS or RARBG was not a licensed distributor of Plaintiffs’ Works. Indeed, the YTS

website includes a warning to this effect.


                                                 15
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 16 of 55




          96.    Defendant’s subscribers knew that the false or altered CMI that included words

such as YTS and RARBG in the file names was false.

          97.    Defendant’s subscribers knew that the false or altered CMI in the titles would

induce, enable, facilitate or conceal infringements of the Works when they distributed the false

CMI, altered CMI or the Work including the false or altered CMI.

          98.    Namely, Defendant’s subscribers knew that other recipients would see the file

titles and use the altered CMI to go to the website such as YTS from where the torrent files

originated to obtain unlicensed copies of the Work.

          99.    By providing the altered CMI to others, Defendant’s subscribers induced, enabled

and facilitated further infringements of the Work.

          100.   MEU determined that Defendant’s subscribers distributed Plaintiffs’ Works with

altered CMI as shown, for example, in Exhibit “D”.

          101.   MEU determined that Defendant’s subscribers distributed over 175 different

modified CMI with file copies of the Works.


F. Defendant had knowledge that its subscribers were infringing Plaintiffs’ Works and

distributing file copies of the Works with altered CMI but continued to provide service to their

subscribers.


          102.   Plaintiffs engaged MEU to generate Notices of infringements (“Notices”) styled per 17

U.S.C. §512(c)(3) of the Digital Millennium Copyright Act (“DMCA”) to be sent to service providers of

IP addresses where MEU confirmed infringement of copyright protected content.

          103.   Each Notice included at least the name of the copyright owner, the title of the

Work, the manner by which it was infringed, the infringing file name which includes the altered

Copyright Management Information, the IP address and port number where infringement was
                                                  16
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 17 of 55




confirmed and the time of infringement down to the second. See Exhibit “C” (Attached Exhibit

1) (excerpt below).




          104.   MEU determines the proper service provider assigned the IP addresses at issue from

publicly available information from ARIN.

          105.   MEU determines the proper abuse contact email address for the service provider assigned

the IP addresses from the ARIN records, DMCA designated directory and Defendants’ website.

          106.   Plaintiffs’ agent sends the Notice to the abuse contact email address.

          107.   Defendant is required to update the WHOIS records for the IP addresses it

reassigns or reallocates per its registration agreement with ARIN.

          108.   Plaintiffs’ agent has sent over 5,800 Notices to Defendant concerning

infringements of copyright protected Works including Plaintiffs’ at IP addresses assigned to

Defendants from ARIN.

          109.   For example, Plaintiffs’ agent sent over 1000 Notices to Defendant concerning

infringement of the motion picture The Hitman’s Bodyguard at IP addresses assigned to

Defendant from ARIN.

          110.   For example, Plaintiffs’ agent sent over 500 Notices to Defendant concerning

infringement of the motion pictures I Feel Pretty and Hellboy at IP addresses assigned to

Defendant from ARIN.

                                                    17
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 18 of 55




          111.   For example, Plaintiffs’ agent sent over 450 Notices to Defendant concerning

infringement of the motion picture Angel Has Fallen at IP addresses assigned to Defendants from

ARIN.

          112.   For example, Plaintiffs’ agent sent over 350 Notices to Defendant concerning

infringement of the motion picture Rambo V: Last Blood at IP addresses assigned to Defendants

from ARIN.

          113.   For example, Plaintiffs’ agent sent over 300 Notices to Defendants concerning

infringement of the motion picture Ava at IP addresses assigned to Defendants from ARIN.

          114.   Plaintiffs’ agent sent over 75 Notices to Defendant concerning observed infringements

at each of IP addresses 24.155.189.11 and 24.155.79.34.

          115.   Upon information and belief, other rightsholders had similar Notices sent to Defendant

concerning infringing activity at IP addresses assigned to Defendant from ARIN.

          116.   Defendant failed to terminate the subscribers of the accounts associated with these

IP addresses or take any meaningful action in response to these Notices.

          117.   Defendant often failed to even forward the Notices to their subscribers.

          118.   Defendant continued to provide service to the subscribers despite knowledge that its

subscribers were using the service to engage and facilitate massive piracy of copyright protected Works

including the Copyright Plaintiffs’ and distribute altered CMI.

          119.   Plaintiffs’ counsel sent a letter to Defendant detailing these concerns and pointing to

detailed examples of prolific piracy behavior by subscribers on Oct. 15, 2020. See Exhibit “C”.

          120.   Defendant completely ignored the letter and, upon information and belief, continued to

provide service to even the subscribers engaged in prolific piracy detailed in the letter.




                                                     18
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 19 of 55




          121.   Defendant’s failure to terminate or take any meaningful action against its subscribers

resulted in a cascade of piracy of Plaintiffs’ Works.


G. Defendant controls the conduct of its subscribers.


          122.   Defendant can terminate the accounts of their subscribers at any time.

          123.   Upon information and belief, Defendant promptly terminates subscriber accounts

for committing any prohibited or abusive activities or failing to pay for the Service. See Decl. of

Joshua Lee at ¶8.

          124.   Defendant explicitly states that it may take responsive action to violations of its

Acceptable Use Policy including “temporary or permanent removal of content…filtering of

Internet transmissions, and the immediate suspension or termination of all or any portion of the

Service”. Id.

          125.   Defendant monitors and/or controls the content that its subscribers access or which

websites they visit.

          126.   Defendant has the ability to determine whether its subscriber’s service is being

used for operating file-sharing programs such as BitTorrent and whether the subscriber’s service

is being used to distribute copies of copyright protected content.

          127.   Defendant explicitly states to its customers that “it reserves the right at any time to

monitor bandwidth, usage, transmissions, and content…” Id.


H. Defendant does not have a safe harbor from liability.


          128.   As part of the DMCA, Congress created a safe harbor that limits the liability of a

service provider for copyright infringement when their involvement is limited to, among other

things, “transmitting, routing, or providing connections for, material through a system or network

                                                    19
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 20 of 55




controlled or operated by or for the service provider.” 17 U.S.C. § 512(a). To benefit from this

safe harbor, however, an ISP must demonstrate that it “has adopted and reasonably

implemented...a policy that provides for the termination in appropriate circumstances of

subscribers...who are repeat infringers.” 17 U.S.C. § 512(i)(1)(A).

          129.   Defendant has not adopted or reasonably implemented a policy of terminating repeat

infringers.

          130.   Plaintiffs’ agent has sent over 5,800 Notices to Defendants concerning infringements at

IP addresses Defendants publish as assigned to them.

          131.   Defendant failed to terminate the accounts and/or take any meaningful actions against

their subscribers in response to the Notices consistent with a reasonably implemented policy for

termination of subscribers and account holders of the service provider’s system or network who are repeat

infringers necessary to support a safe harbor from liability (“policy”).

          132.   Indeed, Defendant has failed to follow its own purported policy. See

https://mygrande.com/PDFs/GRANDE-DMCA-Policy-01082021.pdf [last accessed on Oct. 19,

2021].

          133.   Below are examples of Defendant’s failure to reasonably implement the requisite Policy.

          134.   Defendant states on its website that, “After receiving Notifications regarding

repeated infringement through unauthorized file sharing, including peer-to-peer file sharing,

relating to a specific subscriber account, Grande Communications Networks, LLC will take action

to prevent repeated infringement. Such action may include temporary or permanent termination

of the subscriber account.”            See https://mygrande.com/PDFs/GRANDE-DMCA-Policy-

01082021.pdf [last accessed on Oct. 19, 2021].




                                                     20
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 21 of 55




          135.   However, Defendant failed to terminate the account and/or take any meaningful

action against their subscribers at IP addresses 24.155.189.11 and 24.155.79.34 even after Plaintiffs’

agent sent over 75 Notices for each of these IP addresses to Defendant and Plaintiffs’ counsel sent

a letter (Exhibit “C”).

          136.   Defendant now argues that Notices should discuss, reference, or attach supporting

evidence so that Defendant can verify allegations of infringement in their Motion to Dismiss [Doc.

#12] although their purported policy has no such requirements.

          137.   Defendant did not contact Plaintiffs’ agent to ask for further information to verify

or confirm the piracy detailed in the Notices.

          138.   Upon information and belief, Defendant did not forward most if not all of the

Notices to its subscribers.

          139.   Defendant did not forward any counter-notifications from its subscribers to

Plaintiffs’ agent in response to the Notices.

          140.   Defendant’s conduct renders it ineligible for safe harbor immunity from copyright

liability under the DMCA.


I. The copyright infringements arise from Defendant’s advertisements.


          141.   At all relevant times, Defendant’s subscribers have paid substantial subscription

fees for access to Defendants’ high-speed Internet network.

          142.   Defendant offers a tiered pricing structure so its subscribers can have even higher

downloading and uploading speed for a higher monthly fee. See Decl. of Joshua Lee at ¶3.

          143.   Defendant advertises the highest tier for $64.99 for 940 Mbps. See Id. at ¶3.

          144.   As recently as Aug. 9, 2021, Defendant advertised the ability to use this tier of

service to “…download movies”. Id. at ¶4.
                                                  21
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 22 of 55




          145.   Defendant’s subscribers are motivated to become subscribers from Defendants’

advertisements.

          146.   Defendant’s subscribers are motivated to become subscribers from the knowledge

of Defendants’ practice of ignoring notices of infringements or failing to take any meaningful

action.

                               VI. FIRST CLAIM FOR RELIEF
                             (Contributory Copyright Infringement)

          147.   Plaintiffs re-allege and incorporate by reference the allegations contained in each

of the foregoing paragraphs.

          148.   Through its activities, Defendant knowingly and intentionally took steps that are

substantially certain to result in direct infringement of Copyright Plaintiffs’ Copyrighted Works,

and that have resulted in such direct infringement in violation of Plaintiffs’ copyrights.

          149.   Despite Defendant’s knowledge that its subscribers were using its service to

engage in widescale copyright infringements, Defendant has failed to take reasonable steps to

minimize the infringing capabilities of its service.

          150.   Defendants’ actions of providing transmission, routing, or connections for said

copies of the Works to its subscribers is a direct and proximate cause of the infringements of

Plaintiffs’ Works.

          151.   Defendant is liable as a contributory copyright infringer for the infringing acts of

its subscribers. Defendant has actual and constructive knowledge of the infringing activity of its

subscribers.     Defendant knowingly caused and otherwise materially contributed to these

unauthorized distributions and reproductions of Plaintiffs’ Works.

          152.   Defendant’s contributory infringements were committed “willfully” within the

meaning of 17 U.S.C. § 504(c)(2).
                                                  22
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 23 of 55




          153.   By engaging in the contributory infringement alleged in this Second Amended

Complaint, Defendant deprived not only the producers of the Works from income that could have

been derived when the respective film was shown in public theaters and offered for sale or rental,

but also all persons involved in the production and marketing of this film, numerous owners of

local theaters and retail outlets and their employees, and, ultimately, the local economy.

Defendant’s misconduct therefore offends public policy.

          154.   Plaintiffs are entitled to elect to recover from Defendant statutory damages for its

violations of 17 U.S.C. § 1202.

          155.     Plaintiffs are further entitled to costs and reasonable attorneys’ fees.

          156.   As a direct and proximate result of the infringement to which Defendant knowingly

and materially contributes and contributed, Plaintiffs are entitled to injunctive or other equitable

relief as provided by, for example, 17 U.S.C. §§ 512(j)(1)(A) and (B) including but not limited to

an order restraining the Defendant from providing access to infringing material or activity residing

at movie piracy websites including but not limited to: (a) YTS; (b) Piratebay; (c) Rarbg; and (d)

1337x; and/or taking reasonable steps to block access to said movie piracy websites.

                                VII. SECOND CLAIM FOR RELIEF
                                 (Application for Injunctive Relief)
          157.   Plaintiffs re-allege and incorporate by reference the allegations contained in each

of the foregoing paragraphs.

          158.   Defendant has actual knowledge of its subscribers’ infringements of Plaintiffs’

exclusive rights under the Copyright Act by its subscribers’ use of notorious piracy websites that

are of foreign origin to pirate Plaintiffs’ Works.

          159.   Despite having said actual knowledge, Defendant continues to provide services to

the subscribers.

                                                    23
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 24 of 55




          160.   Defendant’s actions of providing transmission, routing, or connections for said

copies of the Works to its subscribers is a direct and proximate cause of the infringements of

Plaintiffs’ Works.

          161.   Defendant had actual or constructive knowledge of infringement of Plaintiffs’

exclusive rights under the Copyright Act by its subscribers. Defendant knowingly and materially

contributed to such infringing activity.

          162.   Plaintiffs suffer irreparable harm from Defendant’s failure to take even simple

actions to stop further piracy of their Works by Defendant’s subscribers.

          163.   Defendant’s subscribers are depriving Plaintiffs of their exclusive rights to control

how, when, and to whom they will disseminate their Copyrighted Works.

          164.   Defendant’s subscribers’ distribution of freely available infringing copies of the

Works inevitably and irreparably undermines the legitimate market in which consumers can

purchase access to the same works.

          165.   Defendant’s subscribers’ distribution of freely available infringing copies of the

Works threaten harm to Plaintiffs’ relationships and goodwill with authorized licensees.

          166.   The hardship Plaintiffs will face without the injunction prayed for outweighs any

harm to the Defendant’s interests in profiting from allowing its subscribers to use its service to

pirate Plaintiffs’ Works.

          167.   The public has a compelling interest in protecting copyright owners’ marketable

rights to their works, particularly from foreign websites that profit from widespread piracy of US

copyright protected Works.

          168.   As a direct and proximate result of the infringement to which Defendant knowingly

and materially contribute and contributed, Plaintiffs are entitled to injunctive or other equitable


                                                  24
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 25 of 55




relief as provided by, for example, 17 U.S.C. §§ 512(j)(1)(A) and (B) including but not limited to

an order restraining the Defendant from providing access to infringing material or activity residing

at movie piracy websites including but not limited to: (a) YTS; (b) Piratebay; (c) Rarbg; and (d)

1337x; and/or taking reasonable steps to block access to said movie piracy websites.

                            VIII. THIRD CLAIM FOR RELIEF
             (Secondary Liability for Digital Millennium Copyright Act Violations)
          169.   Plaintiffs re-allege and incorporate by reference the allegations contained in each

of the foregoing paragraphs.

          170.   Defendant’s subscribers knowingly and with the intent to induce, enable, facilitate,

or conceal infringement of the Plaintiffs’ copyright protected Works, distributed copyright

management information (“CMI”) that falsely included wording such as “YTS” and “RARBG”

in violation of 17 U.S.C. § 1202(a)(2).

          171.   Defendant’s subscribers knowingly and with the intent to induce, enable, facilitate,

or conceal infringement of the copyright protected Works distributed CMI that falsely included

the wording such as “YTS” and “RARBG” or in violation of 17 U.S.C. § 1202(a)(2).

          172.   Defendant’s subscribers knowingly and with the intent to induce, enable, facilitate,

or conceal infringement of the copyright protected Works distributed CMI that falsely included

the wording such as “YTS” and “RARBG” in violation of 17 U.S.C. § 1202(a)(2).

          173.   Defendant’s subscribers, without the authority of Plaintiffs or the law, distributed

removed or altered CMI knowing that the CMI had been removed or altered to include wording

such as “RARBG” and “YTS” without the authority of the Plaintiffs and knowing, or having

reasonable grounds to know, that it will induce, enable, facilitate, or conceal infringement of

Plaintiffs’ Copyright protected Works in violation of 17 U.S.C. § 1202(b)(2).

          174.   Defendant’s subscribers, without the authority of Plaintiffs or the law, distributed

                                                  25
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 26 of 55




Plaintiffs’ Copyright protected Works knowing that the CMI had been removed or altered to

include wording such as “RARBG” or “YTS”, and knowing, or having reasonable grounds to

know, that it will induce, enable, facilitate, or conceal infringement of the copyright protected

Works in violation of 17 U.S.C. § 1202(b)(3).

          175.   Particularly, Defendant’s subscribers knew that the CMI in the file names of the

pieces of the Work had been altered to include wording such as “RARBG”, “YTS” or “FGT”.

          176.   Particularly, the Defendant’s subscribers distributed the file names that included

CMI that had been altered to include the wording “YTS” or “RARBG”.

          177.   Defendant’s subscribers knew that the wording “YTS”, “RARBG” or “FGT”

originated from notorious movie piracy website.

          178.   Defendant’s subscribers’ acts constitute violations under the Digital Millennium

Copyright Act (“DMCA violation”), 17 U.S.C. § 1202.

          179.   Through their conduct, Defendant knowingly and intentionally induced, enticed,

persuaded, and caused its subscribers to constitute DMCA violations.

          180.   Through its activities, Defendant knowingly and intentionally takes or took steps

that are substantially certain to result in its subscribers committing DMCA violations, and that

have resulted in DMCA violations.

          181.   Despite Defendant’s knowledge that its subscribers use its service to commit

DMCA violations, Defendant has failed to take reasonable steps to minimize the capabilities of

its service to facilitate DMCA violation.

          182.   Defendant is secondarily liable for the DMCA violations of its subscribers.

Defendant has actual and constructive knowledge of its subscribers’ DMCA violations.

Defendant knowingly caused and otherwise materially contributed to these DMCA violations.


                                                 26
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 27 of 55




          183.   Defendant is vicariously liable for the DMCA violations of its subscribers.

Defendant has the right and ability to supervise and control the DMCA violations that occur

through the use of its service, and at all relevant times has derived a direct financial benefit from

the DMCA violations complained of herein. Defendant has refused to take any meaningful action

to prevent the widespread DMCA violations by its subscribers. Indeed, the ability of Defendant’s

subscribers to use Defendant’s service to engage in widespread DMCA violations while pirating

content without having their services terminated despite multiple notices being sent to Defendant

acts as a powerful draw for subscribers of Defendant’s service. Defendant is therefore vicariously

liable for the DMCA violations.

          184.   Plaintiffs are entitled to an injunction to prevent Defendant from engaging in

and/or contributing to further violations of 17 U.S.C. § 1202.

          185.   Plaintiffs are entitled to recover from Defendant the actual damages suffered by

Plaintiffs and any profits Defendant has obtained as a result of its wrongful acts that are not taken

into account in computing the actual damages. Plaintiffs are currently unable to ascertain the full

extent of the profits Defendant has realized by its violations of 17 U.S.C. § 1202.

          186.   Plaintiffs are entitled to elect to recover from Defendant statutory damages for their

violations of 17 U.S.C. § 1202.

          187.   Plaintiffs are further entitled to costs and reasonable attorneys’ fees.

                                    IX. PRAYER FOR RELIEF

          WHEREFORE, the Plaintiffs respectfully requests that this Court:

          (A) permanently enjoin Defendant from continuing to contribute to infringements of the

Plaintiffs’ copyrighted Works and DMCA violations;

          (B) order Defendant to adopt a policy that provides for the prompt suspension of service


                                                   27
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 28 of 55




for subscribers for which Defendants receive more than three unique notices of infringements of

copyright protected Works within 72 hours without receiving a counter notification from said

subscriber;

          (C) order Defendant to block subscribers from accessing notorious piracy websites of

foreign origin including but not limited to: (a) YTS; (b) Piratebay; (c) Rarbg; and (d) 1337x that

are listed in the annual trade report of Notorious Foreign Markets published by the United States

Government on all networks under their control to prevent further pirating of Plaintiffs’ Works via

the BitTorrent protocol;

          (D) order the Defendant to disclose to Plaintiffs the identifications of the subscribers who

used and use Defendant’s service to infringe Plaintiffs’ Works on an ongoing basis after said

subscribers are provided notice as required by 47 U.S.C. § 551;

          (E) award the Plaintiffs their actual damages from the copyright infringements and

Defendant’s profits in such amount as may be found; alternatively, at Plaintiffs’ election, for

maximum statutory damages of $150,000/copyright for the Works (or a total of at least

$11,850,000 for 79 copyrights) pursuant to 17 U.S.C. § 504(a) and (c) against Defendant;

          (F) award the Plaintiffs their actual damages from the DMCA violations and Defendant’s

profits in such amount as may be found; or, in the alternative, at Plaintiff’s election, for maximum

statutory damages of $25,000 for each DMCA violation pursuant to 17 U.S.C. § 1203(c) for a total

of at least $4,975,000 for contributing to the more than 199 violations of and/or vicariously

violating 17 U.S.C. § 1202;.

          (G) award the Plaintiffs their reasonable attorneys’ fees and costs pursuant to 17 U.S.C. §

505 and/or 17 U.S.C. § 1203(b)(5); and

          (H) grant the Plaintiffs any and all other and further relief that this Court deems just and


                                                  28
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 29 of 55




proper.

                                         X. JURY DEMAND

          The Plaintiffs hereby demand a trial by jury on all issues properly triable by jury.

          DATED: Kailua-Kona, Hawaii, May 17, 2022.


Respectfully submitted,


/s/ Kerry S. Culpepper
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PRODUCTIONS, INC., OUTPOST PRODUCTIONS, INC., RAMBO V PRODUCTIONS,
INC., THE GUARD PRODUCTIONS, LTD; JOLT PRODUCTIONS, INC., and TIL
PRODUCTIONS, INC.




                                                   29
20-023M
           Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 30 of 55




                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

Civil Action No. 1:21-cv-709

After II Movie, LLC, et al.,

        Plaintiffs,

v.

Grande Communications Networks, LLC,

        Defendant.


                               DECLARATION OF JOSHUA LEE


        JOSHUA LEE, hereby declares under penalty of law that the following is true and

correct:

     1. I am an associate attorney with the law firm Culpepper IP, LLLC in Kailua Kona,

HI. Culpepper IP, LLLC represents the Plaintiffs in various actions throughout the

United States.

     2. I have personal knowledge of the matters stated herein.

     3. On August 9, 2021, I visited Defendant’s website “https://www.mygrande.com”.

Below is a true and accurate screenshot of the website:
        Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 31 of 55




   4. On August 9, 2021, I visited Defendant’s website

“https://www.mygrande.com/portal/articles/8732”. Below is a true and accurate

screenshot of the website:




   5.

   6. On August 9, 2021, I visited Defendant’s website

“https://www.mygrande.com/internet/speed-test”. Below is a true and accurate

screenshot of the website:
        Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 32 of 55




   7.

   8. On or around July 21, 2021, I accessed Defendant’s Internet Acceptable Use

Policy at “https://mygrande.com/PDFs/Grande_Acceptable_Use_Policy_10-31-13.pdf”

and Customer Terms and Conditions at “https://mygrande.com/policies-

agreements/customer-terms-and-conditions”. Below are true and accurate screenshots:
Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 33 of 55
Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 34 of 55




                         Exhibit “A”
Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 35 of 55




No.         OWNER                 MOTION            Certificate
                                  PICTURE            Number
 1    Millennium Funding,
      Inc. (previously 211                        PAu003905278,
       Productions, Inc.)            211          PA0002132686
 2                                                PAu004014087,
      After II Movie, LLC     After We Collided   PAu003988168
 3    Millennium Funding,
         Inc. (previously
        Fallen Production,                        PA0002197434,
               Inc.)          Angel Has Fallen    PAu003917080
 4    Millennium Funding,
         Inc. (previously
            Automata                              PA0001923090,
        Productions, Inc.)        Automata        PAu003712705
 5      Voltage Holdings,
      LLC (previously Eve                         PA0002235557,
          Nevada, LLC)               Ava          PAu003943693
 6     Millennium IP, Inc.
       (previously Before I     Before I Go to    PAu003753175,
      go Productions, Inc.)         Sleep         PA0001939571
 7    Millennium Funding,
      Inc. (previously UN4    Boyka: Undisputed   PA0002031176,
        Productions, Inc.)           IV           PAu003798816
 8    Millennium Funding,
         Inc. (previously
      Criminal Productions,                       PA0001984029,
               Inc.)              Criminal        PAu003772954
 9                              Disturbing the
       Wonder One, LLC              Peace         PAu003991009
10      Voltage Holdings,
          LLC (formerly       Extremely Wicked,
         Wicked Nevada,        Shockingly Vile    PAu003953148,
               LLC)                and Evil       PAu003905674
11    Millennium Funding,
        Inc. (formerly HB
        Productions, Inc.)         Hellboy        PA0002176664
12     Millennium IP, Inc.
      (formerly Homefront
        Productions, Inc.)       Homefront        PA0001877609
13    Millennium Funding,
      Inc. (formerly Hunter
       Killer Productions,                        PA0002147752,
                Inc.)           Hunter Killer     PAu003868948
Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 36 of 55




14    Voltage Holdings,
     LLC (formerly TBV                           PAu003896491,
      Productions, LLC)        I Feel Pretty     PAu003886973
15                             London Has        PA0001982831,
     LHF Productions, Inc.        Fallen         PAu003789521
16   Millennium Funding,
      Inc. (formerly ME2        Mechanic:
       Productions, Inc.)      Resurrection      PA0001998057
17                           Once Upon a Time    PA0002039391,
        Venice PI, LLC           in Venice       TXu001968528
18         Rambo V            Rambo V: Last
       Productions, Inc.           Blood         PA0002202971
19   Millennium Funding,
         Inc. (formerly
           September           Septembers of     PA0002038711,
       Productions, Inc.)         Shiraz         PAu003740540
20        MON, LLC              Singularity      PAu003848900
21     Voltage Holdings,
     LLC (formerly Status                        PAu003867210,
         Update LLC)           Status Update     PAu003850446
22   Millennium Funding,
         Inc. (formerly
     Survivor Productions,                       PA0001956191,
              Inc.)              Survivor        PAu003749574
23    Nikola Productions,
               Inc.                Tesla         PAu003998966
24    Wonder One, LLC             The 2nd        PAu004025415
25         Bodyguard          The Hitman’s       PAu003844508,
       Productions, Inc.        Bodyguard        PAu003849477
26        Hitman Two          The Hitman’s        PAu4084868,
       Productions, Inc.     Wife’s Bodyguard     PAu4005787
27   Millennium Funding,
               Inc.           The Humbling        PAu03760198
28   Outpost Productions,                        PA0002258273,
               Inc.            The Outpost       PA0002263248
29     Voltage Holdings,
        LLC (formerly
      Definition Delaware    The Professor and   PAu003920383,
              LLC)             the Madman        PAu003919285
30                                               PAu004016506,
                                                 PAu003900818,
          MON, LLC            Welcome Home       PAu003900815
31     Voltage Holdings,                         PA0002039392,
        LLC (formerly                            TXu001967832,
      Headhunter, LLC)        A Family Man       TXu001374031
32    Dallas Buyers Club,     Dallas Buyers      PA0001873195
Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 37 of 55




              LLC                  Club
33     Voltage Holdings,
         LLC (formerly
      Fathers & Daughters       Fathers and      PAu003762811,
         Nevada, LLC)            Daughters       PAu003713364
34     Voltage Holdings,
         LLC (formerly
        Cobbler Nevada,                          PAu003744688,
             LLC)                 Cobbler        PAu003742177
35     Voltage Holdings,
     LLC (previously She
     Fighter Nevada, LLC)     Lady Bloodfight    PA0002056253
36     Badhouse Studios,
         LLC/ Hannibal                           PAu003852034,
          Media, Inc.             Larceny        PAu003892760
37     Voltage Holdings
     LLC (previously I.T.
       Productions, LLC)            I.T.         PAu003801126
38     Voltage Holdings,
     LLC (previously PTG                         PA0001957914,
         Nevada, LLC)          Pay the Ghost     TXu001920050
39     Voltage Holdings,
        LLC (previously        The Necessary
     Countryman Nevada,       Death of Charlie   PAu003663305,
             LLC)               Countryman       TXu001808502
40     Voltage Holdings
        LLC (previously
      Clear Skies Nevada,                        PAu003762377,
             LLC)                Good Kill       PAu003726363
41                              The Protégé
           The Guard          (previously The     PA2346338
       Productions, LTD            Asset)         PA4051267
42   Jolt Productions, Inc.          Jolt         PAu3988197
43   Til Productions, Inc.       Till Death       PAu4085282
44       Screen Media          The Hurricane
        Ventures, LLC              Heist         PA0002147321
45       Screen Media          The Last Full
        Ventures, LLC             Measure        PAu003981677
Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 38 of 55




                     Exhibit "B"
             Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 39 of 55



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          Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 40 of 55




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          Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 41 of 55



  ś ɭɭŜɨɰɭŜɪŜɫɭ
 ś ɩɥɨɰŞɨɨŞɩɭ ɥɨśɥɯśɪɨ
   ś ř ś ř    ś ɮɰɮɭɩ
ɨɩɬŜ ŞŞŞŞŞŞŞŞŞŞŞŞŞŞŞŞŞŞŞŞŞŞŞŞŞŞŞŞŞŞ
Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 42 of 55
Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 43 of 55




              Exhibit "C"
Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 44 of 55
Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 45 of 55
Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 46 of 55
Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 47 of 55
Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 48 of 55




        Exhibit "D"
      Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 49 of 55




      MOTION                         FILE COPIES WITH ALTERED CMI
No.   PICTURE
1
                    211 (2018) [WEBRip] [720p] [YTS.AM]
                    211 (2018) [BluRay] [720p] [YTS.AM]
                    211.2018.720p.BRRip.x264.MkvCage.WS.mkv
         211        211.2018.WEB-DL.x264-FGT
                    211 (2018) [BluRay] [1080p] [YTS.AM]
                    211.2018.720p.WEB-DL.MkvCage.WS.mkv
                    211 (2018) [WEBRip] [1080p] [YTS.AM]

2
                    After We Collided (2020) [720p] [WEBRip] [YTS.MX]
       After We     After We Collided (2020) [1080p] [BluRay] [5.1] [YTS.MX]
       Collided     After.We.Collided.2020.1080p.BluRay.x264.DTS-HD.MA.5.1-FGT
                    After We Collided (2020) [1080p] [WEBRip] [YTS.MX]

3
                    Angel.Has.Fallen.2019.WEB-DL.XviD.MP3-FGT
                    Angel Has Fallen (2019) [BluRay] [1080p] [YTS.LT]
                    Angel.Has.Fallen.2019.BDRip.x264-AAA[rarbg]
      Angel Has     Angel.Has.Fallen.2019.1080p.BluRay.H264.AAC-RARBG
       Fallen       Angel.Has.Fallen.2019.1080p.WEBRip.x264-RARBG
                    Angel Has Fallen (2019) [BluRay] [720p] [YTS.LT]
                    Angel Has Fallen (2019) [WEBRip] [720p] [YTS.LT]
                    Angel Has Fallen (2019) [WEBRip] [1080p] [YTS.LT]

4
                    Automata 2014 BDRip 1080p x264 AC3 English Castellano URBiN4HD Eng
                    Spa Subs
      Automata
                    Automata.2014.1080p.BluRay.x265-RARBG
                    Automata.2013.1080p.BluRay.H264.AAC-RARBG

5
                    Ava (2020) [1080p] [BluRay] [5.1] [YTS.MX]
                    Ava (2020) [2160p] [4K] [WEB] [5.1] [YTS.MX]
                    Ava.2020.1080p.WEBRip.x264-RARBG
         Ava        Ava (2020) [720p] [WEBRip] [YTS.MX]
                    Ava (2020) [720p] [BluRay] [YTS.MX]
                    Ava.2020.1080p.BluRay.H264.AAC-RARBG
                    Ava (2020) [1080p] [WEBRip] [5.1] [YTS.MX]

6     Before I Go
       to Sleep
7       Boyka:
      Undisputed    Boyka Undisputed IV (2016) [1080p] [YTS.AG]
     Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 50 of 55




          IV         Boyka.Undisputed.2016.1080p.WEBRip.AAC.2.0.x264-FGT[EtHD]
                     Boyka.Undisputed.2016.1080p.BRRip.6CH.MkvCage.mkv
                     Boyka.Undisputed.2016.1080p.BluRay.H264.AAC-RARBG
                     Boyka Undisputed IV (2016) [YTS.AG]
                     Boyka.Undisputed.2016.BRRip.XviD.MP3-RARBG
                     Boyka.Undisputed.2016.720p.BluRay.H264.AAC-RARBG

8
                     Criminal 2016 1080p BluRay x264 DTS-JYK
                     Criminal.2016.720p.BluRay.H264.AAC-RARBG
       Criminal
                     Criminal (2016) [1080p] [YTS.AG]
                     Criminal.2016.720p.BRRip.999MB.MkvCage.mkv

9
                     Day.of.the.Dead.Bloodline.2018.720p.BluRay.H264.AAC-RARBG
                     Day.of.the.Dead.Bloodline.2018.1080p.BluRay.x264-GUACAMOLE[rarbg]
                     Day Of The Dead Bloodline (2018) [1080p] [YTS.AG]
      Day of the
                     Day.of.the.Dead.Bloodline.2018.720p.WEB-DL.700MB.MkvCage.mkv
       Dead:
                     Day Of The Dead Bloodline (2018) [YTS.AG]
      Bloodline
                     Day.of.the.Dead.Bloodline.2018.WEB-DL.x264-FGT
                     Day.of.the.Dead.Bloodline.2018.1080p.BluRay.H264.AAC-RARBG
                     Day.of.the.Dead.Bloodline.2018.1080p.WEB-DL.DD5.1.H264-FGT

10
                     Disturbing The Peace (2020) [WEBRip] [1080p] [YTS.LT]
      Disturbing     Disturbing The Peace (2020) [1080p] [BluRay] [5.1] [YTS.MX]
      the Peace      Disturbing The Peace (2020) [WEBRip] [720p] [YTS.LT]
                     Disturbing The Peace (2020) [720p] [BluRay] [YTS.MX]

11
                     Extremely.Wicked.Shockingly.Evil.and.Vile.2019.1080p.WEBRip.x264-
                     RARBG
                     Extremely Wicked, Shockingly Evil, And Vile (2019) [WEBRip] [720p]
                     [YTS.AM]
      Extremely      Extremely.Wicked.Shockingly.Evil.And.Vile.2019.720p.WEB.X264-
       Wicked,       METCON[rarbg]
      Shockingly     Extremely Wicked, Shockingly Evil And Vile (2019) [BluRay] [1080p]
     Vile and Evil   [YTS.LT]
                     Extremely Wicked, Shockingly Evil, And Vile (2019) [WEBRip] [1080p]
                     [YTS.AM]
                     Extremely Wicked, Shockingly Evil And Vile (2019) [BluRay] [720p]
                     [YTS.LT]

12
       Hellboy       Hellboy.2019.KORSUB.HDRip.XviD.MP3-STUTTERSHIT
                     Hellboy (2019) [WEBRip] [1080p] [YTS.LT]
     Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 51 of 55




                     Hellboy.2019.1080p.KORSUB.HDRip.x264.AAC2.0-STUTTERSHIT
                     Hellboy (2019) [BluRay] [720p] [YTS.LT]
                     Hellboy (2019) [WEBRip] [720p] [YTS.LT]
                     Hellboy.2019.1080p.WEBRip.x264-RARBG
                     Hellboy (2019) [BluRay] [1080p] [YTS.LT]
                     Hellboy.2019.720p.HC.HDRip.x264-MkvCage.Com.mkv

13   Homefront
14
                     Hunter.Killer.2018.1080p.BRRip.x264.MkvCage.ws.mkv
                     Hunter.Killer.2018.720p.WEB-DL.XviD.AC3-FGT
                     Hunter.Killer.2018.1080p.KORSUB.HDRip.x264.AAC2.0-STUTTERSHIT
                     Hunter Killer (2018) [BluRay] [1080p] [YTS.AM]
       Hunter        Hunter.Killer.2018.720p.BluRay.H264.AAC-RARBG
       Killer        Hunter.Killer.2018.1080p.BluRay.H264.AAC-RARBG
                     Hunter.Killer.2018.BDRip.x264-DRONES[rarbg]
                     Hunter Killer (2018) [WEBRip] [1080p] [YTS.AM]
                     Hunter Killer (2018) [BluRay] [720p] [YTS.AM]
                     Hunter Killer (2018) [WEBRip] [720p] [YTS.AM]

15
                     I Feel Pretty (2018) [WEBRip] [1080p] [YTS.AM]
                     I Feel Pretty (2018) [BluRay] [720p] [YTS.AM]
                     I Feel Pretty (2018) [720p] [BluRay] [YTS.ME]
     I Feel Pretty   I.Feel.Pretty.2018.720p.WEB-DL.MkvCage.WS.mkv
                     I.Feel.Pretty.2018.1080p.BluRay.x265-RARBG
                     I Feel Pretty (2018) [BluRay] [1080p] [YTS.AM]
                     I Feel Pretty (2018) [WEBRip] [720p] [YTS.AM]

16
                     Kill Chain (2019) [BluRay] [720p] [YTS.LT]
                     Kill Chain (2019) [WEBRip] [1080p] [YTS.LT]
                     Kill.Chain.2019.1080p.WEBRip.x264-RARBG
      Kill Chain
                     Kill.Chain.2019.1080p.BluRay.H264.AAC-RARBG
                     Kill Chain (2019) [WEBRip] [720p] [YTS.LT]
                     Kill Chain (2019) [BluRay] [1080p] [YTS.LT]

17
                     London.Has.Fallen.2016.720p.BluRay.H264.AAC-RARBG
                     London.Has.Fallen.2016.1080p.BluRay.x265-RARBG
                     London.Has.Fallen.2016.2160p.BluRay.REMUX.HEVC.DTS-HD.MA.5.1-
     London Has
                     FGT
       Fallen
                     London.Has.Fallen.2016.1080p.BluRay.H264.AAC-RARBG
                     London Has Fallen (2016) [YTS.AG]
                     London Has Fallen (2016) [1080p] [YTS.AG]
                     London.Has.Fallen.2016.1080p.BluRay.x264-DRONES[rarbg]
     Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 52 of 55




18
                    Mechanic Resurrection 2016 1080p BluRay x264 DTS-JYK
                    Mechanic Resurrection (2016) [YTS.AG]
      Mechanic:     Mechanic Resurrection (2016) [1080p] [YTS.AG]
     Resurrection   Mechanic.Resurrection.2016.1080p.BluRay.H264.AAC-RARBG
                    Mechanic.Resurrection.2016.HDRip.1080p.DUAL-BLACKOUT-
                    WWW.THEPIRATEBRAZIL.ORG

19
                    Once.Upon.a.Time.in.Venice.2017.1080p.WEB-DL.DD5.1.H264-FGT
                    Once.Upon.a.Time.in.Venice.2017.BRRip.XviD.AC3-RARBG
     Once Upon a    Once.Upon.a.Time.in.Venice.2017.1080p.BluRay.H264.AAC-RARBG
       Time in      Once Upon A Time In Venice (2017) [YTS.AG]
       Venice       Once.Upon.a.Time.in.Venice.2017.720p.WEB-DL.750MB.MkvCage.mkv
                    Once Upon A Time In Venice (2017) [1080p] [YTS.AG]
                    Once.Upon.a.Time.in.Venice.2017.720p.BRRip.850MB.MkvCage.mkv

20
                    Rambo.Last.Blood.2019.Extended.Bluray.1080p.DTS-HD.x264-GrymLegacy
                    Rambo.Last.Blood.2019.1080p.BDRip.X264.AC3-EVO[TGx]
                    Rambo.Last.Blood.2019.KORSUB.HDRip.XviD.MP3-STUTTERSHIT
                    Rambo.Last.Blood.2019.EXTENDED.1080p.BluRay.H264.AAC-RARBG
     Rambo V:
                    Rambo.Last.Blood.2019.1080p.BluRay.H264.AAC-RARBG
     Last Blood
                    Rambo.Last.Blood.2019.1080p.WEBRip.x264-RARBG
                    Rambo.Last.Blood.2019.EXTENDED.720p.BluRay.H264.AAC-RARBG
                    Rambo Last Blood (2019) [BluRay] [720p] [YTS.LT]
                    Rambo Last Blood (2019) [BluRay] [1080p] [YTS.LT]

21   Septembers
      of Shiraz
22   Singularity
23
                    Status.Update.2018.720p.WEB-DL.MkvCage.mkv
                    Status Update (2018) [BluRay] [720p] [YTS.AM]
       Status
                    Status.Update.2018.1080p.WEB-DL.DD5.1.H.264-FGT
       Update
                    Status Update (2018) [WEBRip] [1080p] [YTS.AM]
                    Status Update (2018) [WEBRip] [720p] [YTS.AM]

24
       Survivor     Survivor.2015.HDRip.XviD.AC3-EVO

25
                    Tesla.2020.1080p.WEBRip.x265-RARBG
        Tesla       Tesla (2020) [1080p] [BluRay] [5.1] [YTS.MX]
                    Tesla (2020) [1080p] [WEBRip] [5.1] [YTS.MX]
                    Tesla (2020) [720p] [WEBRip] [YTS.MX]
     Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 53 of 55




                   Tesla.2020.1080p.WEBRip.x264-RARBG

26
                   The 2nd (2020) [720p] [BluRay] [YTS.MX]
      The 2nd      The.2nd.2020.1080p.BluRay.H264.AAC-RARBG
                   The 2nd (2020) [1080p] [BluRay] [5.1] [YTS.MX]

27
                   The.Hitmans.Bodyguard.2017.720p.WEBRip.XviD.AC3-FGT
                   The.Hitmans.Bodyguard.2017.1080p.WEB-DL.6CH.MkvCage.mkv
                   The.Hitmans.Bodyguard.2017.INTERNAL.1080p.BluRay.X264-
                   AMIABLE[rarbg]
                   The Hitman's Bodyguard (2017) [YTS.AG]
        The
                   The.Hitmans.BodyGuard.2017.720p.BluRay.H264.AAC-RARBG
      Hitman’s
                   The.Hitmans.Bodyguard.2017.BDRip.X264-AMIABLE[rarbg]
     Bodyguard
                   The Hitmans Bodyguard (2017) [1080p] [YTS.PE]
                   The.Hitmans.Bodyguard.2017.INTERNAL.720p.BluRay.X264-
                   AMIABLE[rarbg]
                   The Hitman's Bodyguard (2017) [1080p] [YTS.AG]
                   The.Hitman’s.BodyGuard.2017.720p.BRRip.1GB.MkvCage.mkv

28
                   The Hitmans Wifes Bodyguard (2021) [720p] [BluRay] [YTS.MX]
                   The.Hitmans.Wifes.Bodyguard.2021.EXTENDED.1080p.WEBRip.x265-
                   RARBG
                   The Hitmans Wifes Bodyguard (2021) [1080p] [BluRay] [5.1] [YTS.MX]
        The
                   Hitmans.Wifes.Bodyguard.2021.720p.BluRay.x264-VETO[rarbg]
      Hitman’s
                   The Hitmans Wifes Bodyguard (2021) [720p] [WEBRip] [YTS.MX]
       Wife’s
                   The Hitmans Wifes Bodyguard (2021) [2160p] [4K] [BluRay] [5.1]
     Bodyguard
                   [YTS.MX]
                   The Hitmans Wifes Bodyguard (2021) [1080p] [WEBRip] [5.1] [YTS.MX]
                   The.Hitmans.Wifes.Bodyguard.2021.EXTENDED.1080p.WEBRip.x264-
                   RARBG

29
        The
                   The.Humbling.2014.BRRip.XviD.MP3-XVID
      Humbling
30
                   The Outpost (2020) [1080p] [WEBRip] [5.1] [YTS.MX]
                   The Outpost (2020) [2160p] [4K] [WEB] [5.1] [YTS.MX]
                   The.Outpost.2020.BDRip.x264-YOL0W[rarbg]
     The Outpost   The.Outpost.2020.1080p.WEBRip.x264-RARBG
                   The Outpost (2020) [720p] [BluRay] [YTS.MX]
                   The Outpost (2020) [720p] [WEBRip] [YTS.MX]
                   The Outpost (2020) [1080p] [BluRay] [5.1] [YTS.MX]
     Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 54 of 55




31
                     The Professor And The Madman (2019) [BluRay] [720p] [YTS.LT]
        The          The Professor And The Madman (2019) [WEBRip] [1080p] [YTS.AM]
      Professor      The.Professor.and.the.Madman.2019.WEB-DL.x264-FGT
       and the       The Professor And The Madman (2019) [WEBRip] [720p] [YTS.AM]
      Madman         The Professor And The Madman (2019) [BluRay] [1080p] [YTS.LT]
                     The.Professor.and.the.Madman.2019.1080p.WEB-DL.DD5.1.H264-FGT

32
                     Welcome Home (2018) [BluRay] [1080p] [YTS.AM]
       Welcome       Welcome Home (2018) [BluRay] [720p] [YTS.AM]
        Home         Welcome.Home.2018.1080p.WEB-DL.DD5.1.H264-FGT
                     Welcome.Home.2018.WEB-DL.XviD.AC3-FGT

33
      American       ArabRip-American.Heist.2014.1080p.BluRay-By_Olman
       Heist         American Heist 2014 1080p BRRip x264 DTS-JYK

34
                     A.Family.Man.2017.720p.WEB-DL.900MB.MkvCage.mkv
                     A Family Man (2016) [1080P] [FOXM.TO]
       A Family
                     A.Family.Man.2016.1080p.BluRay.H264.AAC-RARBG
         Man
                     A.Family.Man.2016.720p.BRRip.950MB.MkvCage.mkv
                     A Family Man 2017 1080p WEBRip 1.5 GB – iExTV

35
                     Dallas.Buyers.Club.2013.720p.BluRay.H264.AAC-RARBG
       Dallas
                     Dallas.Buyers.Club.2013.1080p.BluRay.H264.AAC-RARBG
     Buyers Club
                     Dallas Buyers Club 2013 BluRay 1080p x264 DD5.1 FLiCKSiCK

36
                     Vengeance.A.Love.Story.2017.720p.BRRip.900MB.MkvCage.mkv
     Vengeance:      Vengeance.A.Love.Story.2017.1080p.BluRay.H264.AAC-RARBG
     A Love Story    Vengeance A Love Story (2017) [1080p] [YTS.AG]
                     Vengeance A Love Story (2017) [YTS.AG]

37
                     I Am Wrath (2016) [1080p] [YTS.AG]
     I Am Wrath      I Am Wrath (2016) [YTS.AG]
                     I.Am.Wrath.2016.1080p.BRRip.x264.AAC-ETRG

38
         USS
                     USS.Indianapolis.Men.of.Courage.2016.HDRip.XviD.AC3-EVO
     Indianapolis:
                     USS.Indianapolis.Men.of.Courage.2016.1080p.BluRay.H264.AAC-RARBG
        Men of
                     USS.Indianapolis.Men.of.Courage.2016.720p.BRRip.x264.AAC-ETRG
       Courage
     Case 1:21-cv-00709-RP Document 45 Filed 05/18/22 Page 55 of 55




39
                   Fathers.and.Daughters.2015.BRRip.XViD-ETRG
     Fathers and
                   Fathers And Daughters (2015) [1080p] [YTS.AG]
      Daughters
                   Fathers.and.Daughters.2015.720p.BRRip.x264.AAC-ETRG

40
                   The.Cobbler.2014.HDRip.XviD.AC3-EVO
      Cobbler
41
                   Lady.Bloodfight.2016.BluRay.720p.750MB.Ganool.mkv
       Lady
                   Lady Bloodfight (2016) 1080p BrRip x264 – VPPV
     Bloodfight
                   Lady Bloodfight 2016 1080p BluRay x264 DTS-JYK

42
      Larceny      Larceny 2017 720p WEBRip 650 MB – iExTV

43
                   I.T. (2016) [1080p] [YTS.AG]
        I.T.
                   I.T.2016.HDRip.XViD-ETRG

44
       Pay the     Pay.the.Ghost.2015.720p.BluRay.750MB.ShAaNiG.mkv
        Ghost      Pay.the.Ghost.2015.HDRip.XViD-ETRG

45      The
      Necessary    The.Necessary.Death.Of.Charlie.Countryman.2013.1080p.BluRay.H264.AAC-
      Death of     RARBG
       Charlie
     Countryman
46
      Stoic fka
                   Acts of Vengeance 2017 720p WEBRip 650 MB – iExTV
       Acts of
                   Acts of Vengeance 2017 720p BRRip 650 MB – iExTV
     Vengeance
47    Good Kill
